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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                :
                                                        :
                                                        :
                v.                                      :       No. 1:19-CR-00125 (ABJ)
                                                        :
                                                        :
 GREGORY B. CRAIG,                                      :
                                Defendant.              :

 NOTICE OF GOVERNMENT’S RESPONSE TO COURT’S 7/17/19 MINUTE ORDER

         The United States responds to this Court’s July 17, 2019, Order, which asked the parties

“to brief the question of whether, at trial, the duty to disclose will be a question of law or a question

of fact.”   Because the “duty to disclose” element of the § 1001(a)(1) count is a mixed question of

law and fact, the United States recommends that it be submitted to the jury at trial.

    I.      Background

         The grand jury charged Defendant, Gregory B. Craig, with two counts: (1) a scheme to

falsify and conceal material facts in violation of 18 U.S.C. § 1001(a)(1), and (2) false statements

under the Foreign Agents Registration Act (FARA) in violation of 22 U.S.C. § 618(a)(2). The

question of the “duty to disclose” arises under Count One, which charges that Defendant, when

responding to inquiries by the Department of Justice’s FARA Unit, had a duty to provide material

information and not to willfully make misleading statements or omit material facts. In addition

to making several false and misleading statements to the FARA Unit, Defendant concealed from

the FARA Unit various facts material to its inquiry, such as his acts in furtherance of Ukraine’s

media plan, including Defendant’s contacts with, and distribution of a pre-publication copy of his

report to, reporters for the New York Times.
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   II.      Discussion

         The Fifth Amendment’s due-process clause and the Sixth Amendment’s jury-trial right

together “require criminal convictions to rest upon a jury determination that the defendant is guilty

of every element of the crime with which he is charged, beyond a reasonable doubt.” United

States v. Gaudin, 515 U.S. 506, 509-10 (1995). The jury, Gaudin declared, “must find all the

elements.” Id. at 515. Accordingly, “if jury instructions remove an element of a crime from the

jury’s consideration, then those instructions are flawed as a matter of law.” United States v.

DeFries, 129 F.3d 1293, 1311 (D.C. Cir. 1997).

         The D.C. Circuit recognizes that “every element of a crime of which a defendant is charged

should ordinarily be submitted to a jury” but, following Gaudin, the Circuit expressed

“uncertain[ty]” about whether a duty to disclose was an element of the § 1001(a)(1) concealment

offense. United States v. Blackley, 167 F.3d 543, 550 (D.C. Cir. 1999). In Blackley, the

defendant argued that the trial court had erred “in refusing to give the jury an instruction that to

find [him] guilty of concealment under § 1001, it must find that [his] failure to report the various

checks he received violated a legal duty.” Id. In addressing this claim, Blackley noted that “some

circuits have held that the government must generally prove that a defendant has a legal duty to

disclose before it can convict for concealment under § 1001.” Id. (citing United States v. Irwin,

654 F.2d 671 (10th Cir. 1981)). “But,” Blackley additionally noted, “it is uncertain, since Gaudin,

whether this judicially created requirement is an element of the crime to be presented to the jury

or a purely legal determination to be decided by the court.” Id. Blackley did not resolve this

question and instead simply “[a]ssum[ed]” that a duty to disclose “is an element of concealment

to be charged to the jury”; based on this assumption, Blackley additionally concluded that any

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purported instructional error was harmless because it was “unimaginable” that the jury would not

have found a duty in that case. Id. at 550-51.

       Since Blackley, however, the D.C. Circuit appears to have determined that a duty to

disclose is indeed an element of a § 1001(a)(1) concealment offense. Citing, among other

authorities, Irwin,1 the Circuit has declared that “there must be a legal duty to disclose in order for

there to be a concealment offense in violation of § 1001(a)(1).” United States v. Safavian, 528

F.3d 957, 964 & n.6 (D.C. Cir. 2008) (emphasis added). Safavian also approvingly cited United

States v. Moore, 446 F.3d 671 (7th Cir. 2006), which identified the first element of a § 1001(a)(1)

offense as this: “the defendant must make a statement, or have a duty to disclose the information.”

446 F.3d at 677.2 In apparently concluding that a duty to disclose is a judicially-created element


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         Irwin held that “it must be established by the Government that the law required disclosure
of the information at the time the defendant allegedly concealed it to sustain” a concealment
offense. 654 F.2d at 679. But, Irwin concluded, though the government in that case had
“attempted to show” such a duty “through the testimony” of one of its witnesses, that witness only
described a “customary” practice and, indeed, a defense witness testified that “he was not aware
of any [Economic Development Administration] regulation or law” that imposed the requisite
duty. Id. Accordingly, Irwin held, “it was not shown that there was a legal duty to disclose” and
the defendant’s § 1001 convictions could not “stand.” Id. Safavian also cited (at 964 n.6)
Blackley and United States v. Calhoon, 97 F.3d 518 (11th Cir. 1996), which pronounced that
“[f]alsity through concealment exists where disclosure of the concealed information is required by
a statute, government regulation, or form.” Id. at 526.
2
         See also, e.g., United States v. White Eagle, 721 F.3d 1108, 1116 (9th Cir. 2013) (“The
district court properly instructed the jury that a conviction under 18 U.S.C. § 1001(a)(1) requires
that: (1) the defendant had a duty to disclose material information * * * .”); United States v. Gibson,
409 F.3d 325, 332 (6th Cir. 2005) (“An essential element of a violation of 18 U.S.C. § 1001 is that
the defendants had a duty to disclose the particular information allegedly concealed from the
government.”); United States v. Curran, 20 F.3d 560, 566 (3d Cir. 1994) (“In order to convict
under a Section 1001 concealment charge, the government must show that a defendant had a legal
duty to disclose the facts at the time he was alleged to have concealed them.”); United States v.
Kingston, 971 F.2d 481, 489 (10th Cir. 1992) (“The essential elements of a § 1001 concealment
prosecution are: 1) the defendant knowingly concealed a fact by any trick, scheme, or device; 2)

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of the concealment offense, Safavian concomitantly suggests that it should be—as Blackley

phrased it—“presented to the jury,” 167 F.3d at 550.

        Moreover, though questions of law undoubtedly predominate the issue of the defendant’s

“legal duty to disclose,” Blackley, 167 F.3d at 550, they are mixed with questions of fact, which

confirms that this element should be submitted to the jury. For example, there is a temporal

component to the element—Defendant must have been subject to the duty at the time he

purportedly concealed a material fact. Similarly, there is a source component to it—Defendant’s

duty must stem from a statute, regulation, or form.3 Finally, deciding whether Defendant has a

duty to disclose “requires the determination” of a “subsidiary question[] of purely historical

fact”—“‘what [information] was [concealed].’” Gaudin, 515 U.S. at 512. And, per Gaudin,

such a “‘mixed question of law and fact’” has “typically been resolved by juries.” Id.; see also

id. at 513 (there is a “historical and constitutionally guaranteed right of criminal defendants to

demand that the jury decide guilt or innocence on every issue, which includes application of the

law to the facts”).4



the defendant acted willfully; 3) the fact concealed was material; 4) the subject matter involved
was within the jurisdiction of a department or agency of the United States; and 5) the defendant
had a legal duty to disclose the fact concealed.”).
3
       For example, as described in n.1 supra, Irwin found insufficient evidence to support that
defendant’s concealment convictions because the government’s witnesses had not “shown” a
disclosure duty stemming from “any law or regulation.” 654 F.2d at 678-79.
4
       Gaudin additionally confirms that the Crop Growers court’s description of the duty to
disclose as a question “of law” does not control the present analysis. See United States v. Crop
Growers Corp., 954 F. Supp. 335, 345 (D.D.C. 1997). As this Court correctly recognized in its
Order, Crop Growers addressed a motion to dismiss and, Gaudin noted, such a “demurrer[] to the
indictment * * * of course raises a question of ‘law’” if the prosecution has failed to properly
charge the offense. 515 U.S. at 517.

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        Consistent with the import of Gaudin and Safavian, in last year’s trial of David Bowser,

the government introduced exhibits and testimony that established the defendant’s duty to disclose

material facts in the course of an investigation by the Office of Congressional Ethics (OCE).

Specifically, in rejecting the defendant’s post-trial motion for judgment of acquittal, the district

court found Exhibit 507 (a certification form) and Exhibit 516 (an acknowledgement form)

established that, “although Mr. Bowser may not have had any preexisting duty to disclose

documents or information to the OCE, a duty was imposed upon him after he signed forms

agreeing that he would not ‘falsif[y], conceal[], or cover[] up by any trick, scheme or device’ a

‘material fact’ within the purview of the OCE’s investigation.” United States v. Bowser, 318 F.

Supp. 3d 154, 170 (D.D.C. 2018). Further, the trial testimony of the OCE’s investigative counsel

established that the “purpose of these certifications” was to provide “the OCE a ‘tool’ by which it

can ‘protect the veracity of the information’ that it receives.” Id. “Accordingly,” Bowser

concluded, “the evidence adduced in the government’s case-in-chief [wa]s sufficient to support

Mr. Bowser’s concealment conviction.” Id.5




5
        Consistent with the instructions the United States has proposed here, see ECF No. 72, in
instructing the jury, the Bowser court admonished the jurors that they had to find beyond a
reasonable doubt that “Mr. Bowser falsified, concealed, or covered up a fact, for which there was
a legal duty to disclose imposed by statute, regulation, or government form.” United States v.
Bowser, No. 16-CR-59 (D.D.C.), ECF No. 87, at 13; see also United States v. Siemaszko, No. 3:06-
CR-712 (N.D. Oh.), ECF No. 343, at 2154 (charging jury that it had to find following “element[]”
beyond a reasonable doubt: “that the defendant concealed a fact that he had a duty to disclose”);
United States v. Mubayyid, No. 05-CR-40026 (D. Mass.), ECF No. 457, at 166-68 (charging jury
that: “Mere failure to reveal a material fact is not sufficient to satisfy th[e trick, scheme, or device]
element; there must be an affirmative act of concealment. Furthermore, the defendant must have
had a legal duty to disclose the material fact at the time he was alleged to have concealed it.”).

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          In this trial, the government expects to introduce evidence of Defendant’s duty, including

that it stemmed from FARA and that the purpose of the FARA Unit’s targeted inquiry was to

enforce FARA by determining whether Defendant was obligated to register as an agent of Ukraine.

   III.      Conclusion

          The government respectfully suggests that Defendant’s duty to disclose is a mixed question

of fact and law and an element of the concealment offense that should be submitted to the jury.


                                        Respectfully submitted,

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Dated:      July 31, 2019

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                                      Certificate of Service

        I certify that, by virtue of the Court’s ECF system, a copy of the foregoing Notice has been
sent to counsel for the defendant on July 31, 2019.


                                              /s/ Molly Gaston
                                              Molly Gaston
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